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                                UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF ALABAMA
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                                   MONTGOMERY, ALABAMA 36101-0711

DEBRA P. HACKETT, CLERK
                                                                        TELEPHONE (334) 954-3600


                                          October 9, 2009




                          NOTICE OF VOLUNTARY DISMISSAL


       Re:      Elizabeth Levi v. Capital One Bank, N.A., et al.
                Civil Action No. 2:09-cv-675-WKW


       Pursuant to the #20 Joint Stipulation of Dismissal with Prejudice filed by
       the parties on 10/8/2009 and Fed. R. Civ. P. 41(a)(1)(A)(ii), this case is
       dismissed with prejudice, without an order of the court and has been
       closed and removed from the docket of this court.
